      Case 2:21-cv-02509-E Document 20 Filed 11/10/21 Page 1 of 1 Page ID #:853



 1

 2

 3

 4

 5

 6

 7

 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11   ERIKA C. R.,                            )     NO. CV 21-2509-E
                                             )
12                   Plaintiff,              )
                                             )
13        v.                                 )           JUDGMENT
                                             )
14   KILOLO KIJAKAZI, Acting                 )
     Commissioner of Social Security,        )
15                                           )
                     Defendant.              )
16                                           )
                                             )
17

18
          IT IS HEREBY ADJUDGED that Defendant’s motion for summary
19
     judgment is granted and judgment is entered in favor of Defendant.
20

21
               DATED: November 10, 2021.
22

23
                                                    /S/
24                                             CHARLES F. EICK
                                       UNITED STATES MAGISTRATE JUDGE
25

26

27

28
